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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION


 STATE OF TEXAS, et al.,

                Plaintiffs,

        v.                                          Case No. 2:24-cv-86-Z
                                                    District Judge Matthew J. Kacsmaryk
 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                Defendants.


 CARROLL INDEPENDENT SCHOOL
 DISTRICT,

                Plaintiff,
                                                    Case No. 4:24-cv-00461-O
        v.                                          District Judge Reed O’Connor

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                Defendants.


                  DEFENDANTS’ MOTION TO CONSOLIDATE CASES

       Last month, the Department of Education issued a rule titled Nondiscrimination on the

Basis of Sex in Education Programs or Activities Receiving Federal Financial Assistance, 89 Fed.

Reg. 33,474 (Apr. 29, 2024) [hereinafter Final Rule]. Among other things, the Final Rule amends

the Department’s Title IX regulations to provide greater protections for all students by clarifying

(1) the scope and application of Title IX and (2) the obligations of schools to provide an

educational environment free from discrimination on the basis of sex, including through

responding to incidents of sex discrimination. In the weeks after the Final Rule was issued, Texas


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and the Carroll Independent School District—two public entities—filed separate suits in this

district challenging the Final Rule. Both suits are at the preliminary stage, contain substantially

similar claims, and seek substantially similar relief against significantly overlapping Defendants

(the Department of Education and various officials thereof). Before these cases proceed any

further, with Defendants unnecessarily drafting responses to and two courts unnecessarily

reviewing two preliminary injunction motions, the Court should quickly streamline these cases by

consolidating them pursuant to Rule 42(a)(2) of the Federal Rules of Civil Procedure.1

                                        BACKGROUND

       Plaintiff the State of Texas filed its lawsuit in the U.S. District Court Northern District of

Texas on April 29, 2024. See Compl., Texas v. ED, No. 2:24-cv-86-Z (N.D. Tex.), ECF No. 1.

Texas named as Defendants the United States; the Department of Education; Secretary Miguel

Cardona; Assistant Secretary for Civil Rights Catherine Lhamon; and Deputy Assistant Secretary

for Enforcement Randolph Wills. See id. ¶¶ 8-12. On May 13, 2024, the State of Texas and two

individual plaintiffs filed an Amended Complaint. See Am. Compl., Texas v. ED, No. 2:24-cv-86-

Z (N.D. Tex.), ECF No. 12.

       Three weeks after Texas filed its original complaint, Plaintiff Carroll Independent School

District filed its lawsuit in the U.S. District Court Northern District of Texas. See Compl., Carroll

Independent School District v. ED, No. 4:24-cv-00461-O (N.D. Tex.), ECF No. 1. Just like in

Texas, Carroll Independent School District (“Carroll ISD”) named as Defendants the Department

of Education; Secretary Cardona; and Assistant Secretary Lhamon. See id. ¶¶ 45-50. It also named

the Department of Justice; Attorney General Garland; and Kristen Clarke, in her official capacity



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         Undersigned counsel for the Defendants conferred with counsel for the Plaintiffs in both
actions. Both indicated that they oppose consolidation.

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as Assistant Attorney General for the Civil Rights Division of the Department of Justice. See id.

¶¶ 51-59.

       Plaintiffs in both actions seek to vindicate the same alleged interest based on the same

alleged injury. As Texas states, “Texas independent school districts [such as the Carroll ISD] . . .

are instrumentalities of the State,” and both plaintiffs’ alleged injury includes the potential loss of

the same federal dollars for the Carroll ISD. See, e.g., Texas Am. Compl. ¶ 137; see id. ¶¶ 117-

122, 129-130, 140; see also Carroll Compl. ¶¶ 29-31.

       Both actions challenge the Final Rule, which, among other things, amends the Title IX

regulations to clarify (1) the procedures that schools must follow to adjudicate Title IX complaints

and (2) the scope of Title IX’s prohibition of discrimination on the basis of sex, including as it

relates to sex stereotypes, sex characteristics, pregnancy or related conditions, sexual orientation,

and gender identity. Carroll also involves a challenge to two nonbinding informational documents

that express the Department of Education’s general view that Title IX prohibits discrimination on

the basis of sexual orientation and gender identity. See Enforcement of Title IX of the Education

Amendments of 1972 With Respect to Discrimination Based on Sexual Orientation and Gender

Identity in Light of Bostock v. Clayton County, 86 Fed. Reg. 32,637 (June 22, 2021); U.S. Dep’t

of Justice & U.S. Dep’t of Educ., Confronting Anti-LGBTQI+ Harassment in Schools: A Resource

for Students and Families, https://perma.cc/KA47-U9LJ (“Fact Sheet”).

       The Texas case and the Carroll case contain substantially similar allegations, substantially

similar causes of action, and substantially similar defendants. Importantly, both complaints raise

similar allegations with respect to the Final Rule. For example, both complaints allege that the

Rule’s scope-of-sex-discrimination provision is contrary to Title IX, see Texas Am. Compl.

¶¶ 188-203; Carroll Compl. ¶¶ 239-249; both allege that the Rule requires an interpretation of



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Title IX that violates the Spending Clause, see Texas Am. Compl. ¶¶ 102-105; Carroll Compl.

¶¶ 256-260; and both allege that the Rule is arbitrary and capricious in violation of the

Administrative Procedure Act. See Texas Am. Compl. ¶¶ 226-253; Carroll Compl. ¶¶ 297-316.

Furthermore, both complaints seek the same relief, namely that the Rule be set aside. See Texas

Am. Compl. at 63; Carroll Compl. at 52.

                                      LEGAL STANDARD

       District courts may consolidate pending actions involving common questions of law or

fact. See Fed. R. Civ. P. 42(a)(2); Miller v. USPS, 729 F.2d 1033, 1036 (5th Cir. 1984) (“Rule

42(a) should be used to expedite trial and eliminate unnecessary repetition and confusion.”). The

parties to a consolidated suit retain all of the rights that they would have had if the actions had

proceeded separately because “the two suits retain their separate identities” and require “the entry

of a separate judgment.” Miller, 729 F.2d at 1036.

       In determining whether to consolidate actions, “[t]he primary factor is the existence of

common questions of law or fact,” but the court may look to other factors, including the following:

       whether the actions are pending before the same court; whether the actions involve
       a common party; whether any risk of prejudice or confusion will result from
       consolidation; whether there is any risk of inconsistent adjudications of common
       factual or legal questions; whether consolidation will reduce the time and cost of
       trying the cases separately; and whether the cases are at the same stage of
       preparation for trial.

Missouri v. Biden, No. 3:22-CV-01213, 2023 WL 4721172, at *1 (W.D. La. July 24, 2023); see

also Tanzy v. Wolf, No. 3:20-CV-3161-X-BH, 2020 WL 11627343, at *1 (N.D. Tex. Dec. 23,

2020). Courts have broad discretion in deciding whether to consolidate actions. See Alley v.

Chrysler Credit Corp., 767 F.2d 138, 140 (5th Cir. 1985).




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                                                 ARGUMENT

I.           The Relevant Factors Weigh in Favor of Consolidation.

             The above criteria weigh in favor of consolidating the Texas and Carroll cases.

             First, and most importantly, both actions involve common questions of law.2 As referenced

     above, the complaints have substantially overlapping claims and requests for relief. In particular,

     they both seek to set aside the Final Rule because, in the plaintiffs’ view, the Rule is contrary to

     Title IX and is arbitrary and capricious. See generally Texas Am. Compl. ¶¶ 102-105, 188-203;

     226-253; Carroll Compl. ¶¶ 239-249; 256-260; 297-316. Resolving the two cases will require any

     court hearing the cases to adjudicate the same issues. Further, because the two cases are currently

     before different courts in this District, failure to consolidate them risks inconsistent adjudication

     of some or all of these numerous common questions of law.

             Second, the two actions name substantially similar defendants. Both cases name the

     Department of Education, Secretary Cardona in his official capacity, and Assistant Secretary

     Lhamon in her official capacity. Although Texas also names the United States and Deputy

     Assistant Secretary Wills in his official capacity, see Texas Am. Compl. ¶¶ 10, 14, that is a

     distinction without a difference. Because Deputy Assistant Secretary Wills was named in his

     official capacity, there are no separate claims or relief that would uniquely inure to him as opposed

     to the Department of Education, which is a common defendant in both cases. See Grose v.

     Napolitano, 583 F. App’x 334, 335 (5th Cir. 2014) (unpublished) (“Because a lawsuit against a

     federal official in her official capacity is essentially a lawsuit against the entity she represents, for




             2
              Because Plaintiffs in both cases brought Administrative Procedure Act challenges against
     the Final Rule, the Court’s review is limited to the administrative record associated with the Final
     Rule. See Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971). There are
     accordingly no factual questions on the merits, common or otherwise.
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the purposes of this appeal we treat as one entity DHS, FEMA, and the individual defendants in

their official capacities.”). Likewise, while Carroll names the Department of Justice and two of

its officers in their official capacities, these, like the common Defendants, are federal entities

represented by the same counsel as the common Defendants, and they are included based on the

allegation that they are empowered to “bring[] enforcement actions for noncompliance on behalf

of [common Defendant Department of Education].” Carroll Compl. ¶¶ 52, 55, 58; see generally

id. ¶¶ 51-59.

       Similarly, and as discussed further below, the Plaintiffs in the two cases effectively overlap,

as the Carroll Plaintiff is an entity of the State of Texas, which is the lead plaintiff in the Texas

case. See, e.g., Texas Am. Compl. ¶ 137 (“Texas independent school districts [such as the Carroll

ISD] . . . are instrumentalities of the State.”). Indeed, Texas purports to be acting on the Carroll

Plaintiff’s behalf in its challenge to the same Rule challenged in the Carroll case, and each claims

to be injured by the potential loss of the same federal funding. See id. ¶¶ 117-122, 129-130, 140;

Pls.’ Mot. for Stay & Prelim. Inj. at 47-48, ECF No. 16 (arguing that “[t]he Final Rule . . . conflicts

with the policies adopted by some of Texas’s political subdivisions,” including, specifically,

Carroll ISD); see also Carroll Compl. ¶¶ 29-31.

       Third, neither the Texas Plaintiffs nor Carroll ISD would be prejudiced by consolidation.

To the contrary, consolidation would eliminate duplicative briefing, argument, and judicial review

of the same or substantially similar claims, leading to more efficient litigation. See Miller, 729

F.2d at 1036 (“Rule 42(a) should be used to expedite trial and eliminate unnecessary repetition

and confusion.”). And the plaintiffs would not lose any rights as a result of consolidation. See

Shafer, 376 F.3d at 395 (consolidation does not deprive a party of any substantial rights that they

may have had if the actions had proceeded separately). Furthermore, consolidation would



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eliminate any risk of inconsistent results for all the plaintiffs and defendants. Miller, 729 F.2d at

1037.

        Fourth, consolidation would conserve the parties’ resources and promote judicial

economy. Once again, both complaints raise substantially similar arguments and seek substantially

similar relief against the same regulation. See Miller, 729 F.2d at 1036; see also Webb v. Equifax

and Chase Bank, No. 14-CV-00345, 2014 WL 12594192, at *2 (W.D. Tex. Sept. 19, 2014)

(consolidating actions because plaintiffs sued each of the defendants pursuant to the same laws

and based on the same facts and because defendants would likely assert similar defenses). There

is no reason for the parties to prepare and two different Courts to review two sets of briefing on

the motions for a preliminary injunction; motions for summary judgment; and any other motion

that is filed in these cases.

        Finally, both actions are at the same preliminary stage of litigation. The Final Rule was

issued just one month ago, and the cases were each filed shortly thereafter, within three weeks of

each other. The Texas Plaintiffs served a Motion for Preliminary Injunction on May 15, 2023, and

Carroll ISD filed a Motion for Preliminary Injunction on May 30.3 Under these circumstances,

consolidation is warranted. See Missouri, 2023 WL 4721172, at *2.




3
  This circumstance, among others, distinguishes the propriety of consolidation between the two
cases at issue in this motion and the potential consolidation of the Texas case at issue here and
Texas v. Cardona, No. 4:23-cv-604-O (N. D. Tex.), in which Texas is challenging the
Department’s June 2021 Title IX Guidance. Unlike the two cases at issue in the instant motion,
Texas v. Cardona was filed almost a year before the cases at issue here and is at a much different
stage of litigation, with cross-motions for summary judgment fully briefed and pending before the
court. See, e.g., Arrieta v. Yellow Transp., Inc., No. CIVA3:05CV2271-D, 2009 WL 90359, at *2
(N.D. Tex. Jan. 13, 2009) (“The court denies YTI’s motion to consolidate because the cases are at
materially different stages of trial preparation.”).




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 II.    Consolidation Would Obviate the Claim-Splitting Problem Posed by Two Cases
        Brought by Texas and Its Subdivision on the Same Subject to Protect the Same
        Alleged Injury.

        In addition to the above factors supporting consolidation, an additional consideration

further militates in favor of consolidation here. As discussed above, the Plaintiffs at issue include

a state and one of its subdivisions, asserting the same interest. See supra at 6; see also Texas Am.

Compl. ¶ 137; see generally Sierra Club v. City of San Antonio, 115 F.3d 311, 314 (5th Cir. 1997)

(“Under Texas law, the Attorney General enjoys an exclusive right to represent state agencies;

other attorneys who may be permitted to assist the Attorney General are subordinate to his

authority.”). The two Complaints thus implicate the rule against claim splitting, which “prohibits

a party or parties in privity from simultaneously prosecuting multiple suits involving the same

subject matter against the same defendants.” Gen. Land Off. v. Biden, 71 F.4th 264, 269–70 (5th

Cir. 2023).

        Texas and Carroll ISD are, at a minimum, in privity with each other for purposes of the

rule against claim splitting. Both complaints assert an identical interest: the potential loss of federal

funds for Texas school districts, including Carroll ISD. See Texas Am. Compl. ¶¶ 117-122, 129-

130, 140; Carroll Compl. ¶¶ 29-31. As the Fifth Circuit has explained, parties are in privity

        where the non-party’s interests were adequately represented by a party to the
        original suit. . . . Where lawsuits involve different agencies of the same state, the
        crucial point is whether or not in the earlier litigation the representative of [the state]
        had authority to represent [the state’s] interests in a final adjudication of the issue
        in controversy.

Gen. Land Off. v. Biden, 71 F.4th at 270 (second and third alteration in original; internal quotations

omitted). In sum, because both actions are brought on the same subject matter by plaintiffs in

privity with each other against the same defendants, they cannot properly both be prosecuted

independently. See generally supra Part I.



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        Consolidation would obviate much of this problem. Courts in this circuit have held that,

consolidation of actions that cannot be maintained independently because they violate the rule

against claim splitting is preferable to dismissal, if consolidation is warranted in the circumstances.

See, e.g., id. at 271 n.9 (“[E]ven if the dissent is correct and the parties were in privity, the district

court should not have dismissed Texas after it consolidated the cases.”); Miller v. U.S. Postal Serv.,

729 F.2d 1033, 1036 (5th Cir. 1984) (consolidation of duplicative suits is preferable to dismissal

of the second suit). Accordingly, the Court should consolidate the actions at issue for this

independent reason.4

                                           CONCLUSION

        For the forgoing reasons, the Court should grant the Defendants’ motion to consolidate

these actions pursuant to Rule 42(a)(2).




4
  In addition to its claims challenging the Final Rule which broadly overlap with Texas’s claim in
the instant case, Carroll ISD also asserts certain claims challenging certain guidance documents.
See, e.g., Carroll Compl. ¶¶ 317-346. These other claims overlap with Texas’s claims in Texas v.
Cardona, No. 4:23-cv-604-O (N. D. Tex.). As explained above, supra note 3, Texas v. Cardona is
in a different stage of litigation and is accordingly inappropriate for consolidation with either of
the cases at issue in this motion. Defendants reserve the right to seek dismissal of those other
overlapping claims of Carroll ISD on claim-splitting grounds at a future time. Defendants also
reserve the right to seek dismissal of all of Carroll ISD’s claims if their motion for consolidation
is not granted.
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Dated: May 31, 2024                     Respectfully submitted,

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                                        /s/ Elizabeth Tulis
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                             CERTIFICATE OF CONFERENCE

       I certify that on May 29, 2024, I conferred by videoconference with Ryan Walters, Chief,

Special Litigation, Office of the Texas Attorney General, and by telephone with Natalie

Thompson, counsel for Carroll Independent School District, about this motion. By email on May

30, 2024, Mr. Walters and Ms. Thompson informed me that Plaintiffs in each case oppose the

relief sought. Specifically, Mr. Walters confirmed that “Plaintiffs would not support consolidation

with the Carroll ISD case filed in the Fort Worth Division.” Ms. Thompson stated that “Carroll

ISD opposes a motion to consolidate moving its case from Fort Worth up to Amarillo.”

                                             /s/ Elizabeth Tulis



                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2024, I electronically filed this document with the Court

by using the CM/ECF system, and that this document was distributed via the Court’s CM/ECF

system. In addition, I served the document via email on the following:

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                                             /Elizabeth Tulis

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